Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 1 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 2 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 3 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 4 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 5 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 6 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 7 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 8 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 9 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 10 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 11 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 12 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 13 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 14 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 15 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 16 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 17 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 18 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 19 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 20 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 21 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 22 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 23 of 24
Case 2:15-cv-03954-JCJ Document 5 Filed 12/07/15 Page 24 of 24
